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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION

 DENNIS BALL-BEY,                               )
                                                )
        Plaintiff,                              )
                                                )        Cause No. 4:18-CV-01364
 v.                                             )
                                                )
 KYLE CHANDLER, et al.                          )
                                                )
        Defendants.                             )
                                                )


                         MOTION TO WITHDRAW AS COUNSEL

        COMES NOW Erin K. McGowan and moves this Court to permit her to withdraw

 her appearance as counsel of record for Defendants Kyle Chandler, Ronald Vaughn, City

 of St. Louis, and D. Samuel Dotson. Assistant City Counselor Brandon Laird joined the

 City Counselor’s Office on January 4, 2019 and has now entered his appearance on

 behalf of all the defendants in this matter.


                                                       Respectfully submitted,

                                                       JULIAN BUSH
                                                       CITY COUNSELOR

                                                    By: /s/ Erin K. McGowan
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                             CERTIFICATE OF SERVICE

         I hereby certify this Motion to Withdraw as Counsel was electronically filed on
 this 25th day of January 2019 with the Court for service by means of Notice of Electronic
 Filing upon all attorneys of record.


                                                            /s/ Erin K. McGowan
